Case 5:13-cr-20303-JEL-DRG ECF No. 179, PageID.935 Filed 01/26/17 Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

JUAN CORTEZ WILLIS,

             Petitioner,                     Civil Case No. 16-12485
                                             Criminal Case No. 13-20303
v.                                           Hon. Gerald E. Rosen

UNITED STATES OF AMERICA,

          Respondent.
_________________________________/

               ORDER DENYING GOVERNMENT’S
         MOTION TO STAY § 2255 LITIGATION PENDING THE
     SUPREME COURT’S DECISION IN BECKLES V. UNITED STATES

                         At a session of said Court, held in
                      the U.S. Courthouse, Detroit, Michigan
                      on           January 26, 2017

                   PRESENT:        Honorable Gerald E. Rosen
                                   United States District Judge

      In a judgment entered on July 24, 2014, Petitioner Juan Cortez Willis was

sentenced to 49 concurrent 240-month terms of imprisonment and one 60-month

term of imprisonment to be served consecutively to the concurrent 240-month

sentences, following his guilty plea to one count of conspiracy to possess with

intent to distribute a controlled substance and 49 counts of possession with intent

to distribute a controlled substance. Through a pro se motion filed on June 30,

2016, Petitioner seeks to vacate his sentence pursuant to 28 U.S.C. § 2255, and he
Case 5:13-cr-20303-JEL-DRG ECF No. 179, PageID.936 Filed 01/26/17 Page 2 of 3




argues in this initial motion that sentencing relief is warranted in light of the

Supreme Court’s recent decision in Johnson v. United States, __ U.S. __, 135 S.

Ct. 2551 (2015). In a subsequent September 6, 2016 motion for leave to amend,

however, Petitioner disavows any claim for relief under Johnson, and instead

states that he wishes to pursue a claim based on another recent Supreme Court

ruling, Mathis v. United States, __ U.S. __, 136 S. Ct. 2243 (2016).

       In lieu of responding to Petitioner’s initial § 2255 motion and his request for

leave to amend this motion, the Government has asked that these § 2255

proceedings be stayed pending the Supreme Court’s decision in Beckles v. United

States, No. 15-8544, cert. granted, 136 S. Ct. 2510 (2016).1 Yet, while Beckles

will potentially resolve certain issues left open by the decision in Johnson,

Petitioner has explicitly abandoned any claim arising from this ruling, and instead

has stated that he is seeking relief under Mathis. It follows that a ruling in Beckles

will not assist the Court in resolving Petitioner’s challenge to his sentence, and

that it would serve no purpose to await this decision before acting upon

Petitioner’s amended § 2255 motion.2


       1
       Beckles was argued on November 28, 2016, and a ruling could be issued at any
time between now and the end of the Supreme Court’s term in June of this year.
       2
       The Court expresses no view, of course, as to the merits of Petitioner’s appeal to
Mathis as a basis for awarding him relief under § 2255.

                                            2
Case 5:13-cr-20303-JEL-DRG ECF No. 179, PageID.937 Filed 01/26/17 Page 3 of 3




      Accordingly,

      NOW, THEREFORE, IT IS HEREBY ORDERED that Petitioner’s

September 6, 2016 motion for leave to amend his motion under § 2255 to vacate

his sentence (docket #167) is GRANTED, and that Petitioner’s September 19,

2016 emergency motion for leave to supplement his initial § 2255 petition (docket

#168) is DENIED AS MOOT. IT IS FURTHER ORDERED that the

Government’s September 29, 2016 motion to stay this § 2255 litigation pending

the Supreme Court’s decision in Beckles v. United States (docket #169) is

DENIED.

      In light of these rulings, IT IS FURTHER ORDERED that the Government

shall file and serve a response to Petitioner’s § 2255 motion, as amended, on or

before February 24, 2017.


                                      s/Gerald E. Rosen
                                      United States District Judge

Dated: January 26, 2017

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on January 26, 2017, by electronic and/or ordinary mail.

                   s/Julie Owens
                   Case Manager, (313) 234-5135




                                         3
